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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON

UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NOS. 2:05-00107-01
                                                          2:05-00107-02

GEORGE LECCO
VALERIE FRIEND


                        MEMORANDUM OPINION AND ORDER


           Pending is the defendants’ motion for a bill of

particulars with respect to the notice of special findings of the

grand jury and notice of intent to seek the death penalty

(“pending motion”), filed September 18, 2006.1



                                      I.



           On August 16, 2006, the government filed notices of

intent to seek the death penalty relating to each defendant

respecting Counts Eleven and Twelve, which allege separately (1)

murder with a firearm, during and in relation to a cocaine

conspiracy, causing the death of Carla Collins, in violation of

18 U.S.C. §§ 924(c)(1)(A), 924(j)(1), and (2) killing a person



     1
      Although the motion appears to have been filed originally
only by defendant George Lecco, defendant Friend joined the motion
orally at the November 17, 2006, pretrial motions hearing.
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for aiding a federal investigation, in violation of 18 U.S.C. §§

1121(a)(2) and 2.


            The notice relating to defendant Lecco specifies as

follows regarding certain factors justifying the ultimate

sanction:

          [1]B. Defendant intentionally participated in an
     act, contemplating that the life of a person would be
     taken or intending that lethal force would be used in
     connection with a person, other than a participant in
     the offense, and the victim, Carla Collins, died as a
     direct result of the act (18 U.S.C. § 3591(a)(2)(C));

          [1]C. Defendant intentionally and specifically
     engaged in an act of violence knowing that the act
     created a grave risk of death to a person, other than
     one of the participants in the offense, such that
     participation in the act constituted a reckless
     disregard for human life and the victim, Carla Collins,
     died as a direct result of the act (18 U.S.C. §
     3591(a)(2)(D)).

            . . . .

           [3]A. Obstruction of justice: Collins was murdered
     because she was suspected of providing information
     about cocaine distribution to law enforcement officers.
     Defendant committed the offenses set out in Counts
     Eleven and Twelve of the Third Superseding Indictment
     to prevent the victim from providing any additional
     information and assistance to law enforcement
     authorities regarding a criminal investigation, to
     retaliate against the victim for having provided
     assistance to law enforcement authorities with
     information regarding defendant’s criminal activity, or
     both.

(Lecco Not. of Intent ¶¶ 1A, 1B, 3A).           The same content appears

in the notice relating to defendant Friend at paragraphs 1D and

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1E and 3A.    (Friend Not. of Intent ¶¶ 1D, 1E, 3A).2


           The third superseding indictment contains allegations

that defendant Lecco:




(Third Supersed. Indict. at 15).          The same allegations appear as

to defendant Friend at paragraphs 4-5 of the third superseding

indictment.    (Third Supersed. Indict. at 16).



     2
      Both notices also list the non-statutory aggravating factor
of victim impact as follows:

     Defendant caused injury, harm, and loss to the victim and
     to the victim’s family and friends as demonstrated by the
     impact of death upon the victim’s family and friends.
     The United States intends to present evidence concerning
     that effect, which may include oral testimony, victim
     impact statements, and evidence of the extent and scope
     of the injury and loss suffered by the victim’ [sic]
     family.

(Lecco Not. of Intent ¶ 3B); (Friend Not. of Intent ¶ 3B).

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           Regarding the notice allegations, the pending motion

lodges the following requests:

     1. As to proportionality factor 1.B, please list with
     particularity any and all facts that would give notice
     to the defense of what “act” that Mr. Lecco performed
     that he contemplated that the life of a person would be
     taken or intended that lethal force be used.

     2. As to proportionality factor 1.C, please state with
     particularity any and all facts that would give notice
     to the defense of what “act of violence” Mr. Lecco
     “engaged in” . . . ” knowing that the act created a
     grave risk of death to a person” which “constituted a
     reckless disregard for human life and the victim, Carla
     Collins . . .”

     3. As to non-statutory aggravator “A: Obstruction of
     justice,” list with particularity what “information
     about cocaine distribution” was being provided by Carla
     Collins to “law enforcement officers” regarding the
     defendant George Lecco or others beyond what he himself
     had admitted to and when such information was provided
     and to whom it was provided.

     4. As to non-statutory aggravator “A: Obstruction of
     justice,” list with particularity what “additional
     information and assistance” to law enforcement, if any,
     Carla Collins was offering or offering to procure
     beyond what Mr. Lecco himself had admitted to and when
     such information was to be provided or gathered and to
     whom it was to be provided.

     5. As to “A: Obstruction of justice,” what assistance
     to law enforcement was provided regarding George Lecco
     that would be in addition to the information Mr. Lecco
     had already provided on himself.

(Mot. at 3-4).       The necessity, in part, for the information

sought is disclosed further in the pending motion:

     The extraordinary scope of the allegations require a
     huge investment of time, energy and expense by the
     defense in order to rebut what defendant maintains are
     vague and overbroad allegations. To investigate every

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     conceivable Federal criminal investigation matter in
     the Mingo County area would be mind-boggling.

(Id. at 4).


           At the pretrial motions hearing, defendant Friend

additionally requested an outline of penalty-related evidence

with greater specificity concerning all of the alleged statutory

and non-statutory aggravating factors specified in the notices.

Within a motion to dismiss the special findings and to strike the

death notice, defendant Friend further contends as follows:

     For Defendants to prepare adequately in this case, the
     Court should grant a bill of particulars or other
     appropriate notice, ordering the government to provide
     the same detail as was ordered in [United States v.]
     Glover, [43 F. Supp. 1217, 1232 (D. Kan. 1999)] or,
     alternatively, and at the very least, to specifically
     provide written notice of the following: (1) with
     respect to each person or act or event referred to in
     the death penalty notice, identifying the name of each
     person and the date, place and general nature of each
     act or event; (2) specifying the general nature of the
     evidence it intends to rely on to support a finding
     that defendants a)“procured the commission of the
     offense by payment, or promise of payment” or b)
     received “pecuniary value” or c) committed the offense
     “after substantial planning and premeditation,” or d)
     committed the offense in a “heinous, depraved or cruel”
     manner; or e) caused “injury harm and loss” to the
     victim’s family.

(Mot. to Dismiss at 69).



           The government responds to the pending motion with a

general legal discussion concerning the disfavored status of

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requests for particulars in the ordinary criminal case.               It

additionally contends, inter alia, as follows: (1) the notices

sufficiently outline both the statutory and non-statutory

aggravating factors relied upon, (2) defendants seek more than

the “fair notice” required by Supreme Court precedent, requesting

both additional discovery and disclosure of the government’s

trial and punishment theories, (3) inasmuch as the government has

specified the factors upon which it relies, due process requires

no more, (4) discovery, grand jury testimony, and background

checks of both defendants have been provided and are the

functional equivalent of the requested bill of particulars, (5)

courts have previously denied the same type of relief sought

here, and (7) a bill of particulars would strictly limit the

government’s proof at the sentencing stage.



                                    II.



           Title 18 U.S.C. § 3593(a) provides pertinently as

follows:

          If, in a case involving an offense described in
     section 3591, the attorney for the government believes
     that the circumstances of the offense are such that a
     sentence of death is justified under this chapter, the
     attorney shall, a reasonable time before the trial or
     before acceptance by the court of a plea of guilty,
     sign and file with the court, and serve on the

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     defendant, a notice--

           (1) stating that the government believes that
           the circumstances of the offense are such
           that, if the defendant is convicted, a
           sentence of death is justified under this
           chapter and that the government will seek the
           sentence of death; and

           (2) setting forth the aggravating factor or
           factors that the government, if the defendant
           is convicted, proposes to prove as justifying
           a sentence of death.

     The factors for which notice is provided under this
     subsection may include factors concerning the effect of
     the offense on the victim and the victim's family, and
     may include oral testimony, a victim impact statement
     that identifies the victim of the offense and the
     extent and scope of the injury and loss suffered by the
     victim and the victim's family, and any other relevant
     information. The court may permit the attorney for the
     government to amend the notice upon a showing of good
     cause.

18 U.S.C. § 3593(a).


           Defendants challenge the general nature of the

government’s allegations in service of section 3593(a).

Defendant Lecco contends that Lankford v. Idaho, 500 U.S. 110

(1991), requires fair notice of the details he requests,

consistent with due process.        Lankford is readily

distinguishable, however, involving, inter alia, a trial judge’s

rather abrupt imposition of the ultimate sanction after providing

essentially no notice of the aggravating factors relied upon.

Additionally, the state had previously foregone death as a

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desired sentence.     The Supreme Court held the sentencing process

violated the Due Process Clause inasmuch as Lankford and his

counsel lacked adequate notice that he might be sentenced to

death.    Those same considerations are absent here.


           Some general observations from Lankford, however, are

worthy of note:

     The question . . . is whether it can be said that
     counsel had adequate notice of the critical issue that
     the judge was actually debating. Our answer to that
     question must reflect the importance that we attach to
     the concept of fair notice as the bedrock of any
     constitutionally fair procedure. Justice Frankfurter
     eloquently made this point in Joint Anti-Fascist
     Refugee Comm. v. McGrath, 341 U.S. 123, 71 S.Ct. 624,
     95 L.Ed. 817 (1951):

           . . . .

           “Man being what he is cannot safely be
           trusted with complete immunity from outward
           responsibility in depriving others of their
           rights. At least such is the conviction
           underlying our Bill of Rights. That a
           conclusion satisfies one's private conscience
           does not attest its reliability. The
           validity and moral authority of a conclusion
           largely depend on the mode by which it was
           reached. Secrecy is not congenial to
           truth-seeking and self-righteousness gives
           too slender an assurance of rightness. No
           better instrument has been devised for
           arriving at truth than to give a person in
           jeopardy of serious loss notice of the case
           against him and opportunity to meet it. Nor
           has a better way been found for generating
           the feeling, so important to a popular
           government, that justice has been done.”


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Id. at 120-22 (citations omitted) (emphasis supplied).

Hearkening back to an earlier opinion in Gardner v. Florida, 430

U.S. 349 (1977), the Supreme Court in Lankford additionally

observed as follows:

     The plurality opinion, like the opinion concurring in
     the judgment, emphasized the special importance of fair
     procedure in the capital sentencing context. We
     emphasized that “death is a different kind of
     punishment from any other which may be imposed in this
     country.”

Id. at 125.


           Balanced against the foregoing, somewhat expansive

notions of what due process requires are other, more

circumscribed views specific to the particular situation

involving a challenge to the specificity of a death notice.                By

example, our court of appeals has observed as follows:

     The FDPA and the Constitution require that the
     defendant receive adequate notice of the aggravating
     factor, which Higgs admittedly received in this case,
     not notice of the specific evidence that will be used
     to support it. See 18 U.S.C.A. § 3593(a) (requiring
     only that the government's notice “set[ ] forth the
     aggravating factor or factors that the government, if
     the defendant is convicted, proposes to prove as
     justifying a sentence of death”); United States v.
     Battle, 173 F.3d 1343, 1347 (11th Cir.1999) (observing
     that notice given to a defendant of the applicable
     aggravating factors in a death penalty case is not the
     same as notice of the specific evidence that the
     government intends to present at a sentencing hearing),
     cert. denied, 529 U.S. 1022, 120 S. Ct. 1428, 146
     L.Ed.2d 318 (2000); cf. Gray v. Netherland, 518 U.S.
     152, 167-68, 116 S.Ct. 2074, 135 L.Ed.2d 457 (1996)

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      (noting that there is no constitutional right to
      advance notice of the government's evidence in
      aggravation at a capital sentencing hearing).

United States v. Higgs, 353 F.3d 281, 325 (4th Cir. 2003)

(emphasis supplied).      The Supreme Court has also observed that

“it has always been the Court's view that the notice component of

due process refers to the charge rather than the evidentiary

support for the charge.”       United States v. Agurs, 427 U.S. 97,

113 n.20 (1976) (emphasis added) (citation omitted).


            Nevertheless, a number of courts have sought an

appropriate, discretionary middle ground of sorts that requires

further disclosure to defendants short of the evidentiary detail

they, as here, often request via a bill of particulars.               See,

e.g., United States v. Llera Plaza, 179 F. Supp.2d 464, 492 (E.D.

Pa. 2001) (“The government is ordered to provide to the court and

the defendants an outline summarizing (and, to the extent

necessary, explaining the pertinence of) the information it

intends to introduce to establish the aggravating factors listed

in the Amended Notices of Intent to Seek the Death Penalty.”);

United States v. Minerd, 176 F. Supp.2d 424, 448 (W.D. Pa. 2001)

(noting authority for requiring more specificity regarding the

notice, but observing the notice and indictment together

“sufficiently advise[d] the defendant of the charges he must be


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prepared to defend”); United States v. Bin Laden, 126 F. Supp.2d

290, 304 (S.D.N.Y. 2001) (observing “[a]n oblique reference to

victims’ ‘injury, harm, and loss,’ without more does nothing to

guide Defendants’ vital task of preparing for the penalty phase

of trial.”); United States v. Glover, 43 F. Supp.2d 1217, 1236

(D. Kan. 1999) (“As to each specific aggravator, the government

is directed to amend its Notice of Intent to Seek the Death

Penalty to specifically articulate the factual basis for each

aggravator, as more fully set forth in this order . . . .”).


            A somewhat similar course of action is appropriate

here.   As stated in Llera Plaza, a defendant ought to be

permitted “‘a meaningful opportunity to present a complete

defense.’”    Llera Plaza, 179 F. Supp.2d at 472 (quoting Crane v.

Kentucky, 476 U.S. 683, 690 (1986)).


            The court, accordingly, ORDERS that the government be,

and it hereby is, directed to submit an outline to the defendants

and the court summarizing the information it intends to use to

establish the factors set forth in the notices.             For purposes of

compliance with this order, the court, like another confronted

with the prospect of perhaps requiring too much detail, notes

that it “envisions a document that is akin to an informative

outline, but not a revelation of evidentiary detail or the

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Government’s theory of its case.”          United States v. Bin Laden,

126 F. Supp.2d 290, 304-05 (S.D.N.Y. 2001).            The court stresses

that it is not ordering, nor does it contemplate, amendment of

the notices.     Additionally, it is not granting a bill of

particulars.


            The court further ORDERS that the pending motion be,

and it hereby is, granted insofar as it is consistent with the

foregoing order and denied as to its residue.


            The Clerk is directed to forward copies of this written

opinion and order to all counsel of record.


                                           DATED: February 9, 2007


                                           John T. Copenhaver, Jr.
                                           United States District Judge




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